            Case
            Case 1:20-cr-00006-PB
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Acknowledgment-Sentencing Options and Supervision Conditions


                       UNITED STATES DISTRICT COURT
                               District of New Hampshire
      UNITED STATES OF AMERICA

                     V.                                        ACKNOWLEDGMENT

            Christopher Cantwell                          Case Number: 1:20CR00006-1-PB
                  Defendant


       I. Christopher Cantwell. acknowledge that I have received, reviewed and understand the proposed
Sentencing Options and Supervision Conditions filed by the U.S. Probation Office in this case.
                                                     //

Date: ,X               \



cc: Defendant
   U.S. Attomey
   U.S. Marshal
   U.S. Probation
   Defense Counsel




USDCNH-103(10-14)
